
In re Allstate Insurance Co.; — Defendants); applying for writ of certiorari and/or review; Parish of Orleans, First City Court of New Orleans, Div. “A”, No. 96-54992; to the Court of Appeal, Fourth Circuit, No. 97CA-0692.
Granted. Judgment of the court of appeal is reversed for the reasons assigned by Judge Steven R. Plotkin in his dissenting opinion. The motion for summary judgment of Allstate Insurance Company is granted, *1196dismissing the claims of Alicia Bentley at her cost.
LEMMON, J., would grant and docket.
JOHNSON, J., would deny the writ.
TRAYLOR, J., not on panel.
